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U'S.' Department Of Justlce _ _ See Insnuctions il}Eor “Servr'ce of Process by the U.S_.' Marsha]”
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PLAINTIFF - court1 eAsE NUMBER _
Robin Robins_on _ ` 06-.171 HBK
DEFENl_)ANT y _ 1 - . ` T`YPE oF PRocEss
7 ` US Marshals SErvice, et '31 Summons in a C:‘Lvil Action
NAME oF lNDlVIDUAL COMPANY CO__RP.ORATI_ON ETC. TO SERVE QR DESCRIPHON oF' PROPERTYTO SEIZE OR CONDEMN

 

 

 

 

 

 

 

 

 

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

SERVE
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" SPACE BEI¢.O$Y FO`R USE OF U..S MARM ONLY-- I)() N_O'I` WRH`E BELOW THIS HNE
l acknowledge receipt for the tota] Total- _Process Distr.ict District - S‘¢gnature of- Authprized USMS Dep_uay or Cl_erk bare
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(Sign oniy first USM 285 if- morej ` " ` ` '
;"'. than one USMZS.‘S is submitted) No. 16 ND. M_ _2/17/06
I hereby certify and return thai 11:1 have personally served Mave_ legal evidence of shrvice, `:F have executed as shown m "Remarks’-’_ the process described
at the address shown abdve or on the individual company corporation,` etc. s_i'i‘0wa` at the address inserted beiow.

on the individual company, caq)oration etc.,
-.i:] l hereby certify and retain that 1 arn unable to locate the individua.l, company corporation etc. named above (See remarks heiow)

 

A person .of suitable age and dis-
€ § nga 1:1 cretion then residing in the defendant’s
usual place of abode.

Name and aide of individual served (1`1" not shown above)
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Signature of U.S_,¢ " l
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Amount of Refund"

 

 

 

 

 
 

 

 

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FORM USM-ZSS (Rea. 1255/3m

 

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